                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              CENTRAL DIVISION

 LIGURIA FOODS, INC.,

                                                         No. C 14-3041-MWB
               Plaintiff,
 vs.
                                                  ORDER FOR POST-TRIAL STATUS
 GRIFFITH LABORATORIES, INC.,                              REPORTS

               Defendant.
                              ___________________________

        By Order (docket no. 201), filed June 12, 2017, I granted Liguria’s request for an
extension to and including June 19, 2017, to file its post-trial motion to facilitate the
parties’ attempts “to resolve post-trial issues, including post-trial motions and bill of
costs.” Liguria’s June 9, 2017, Motion To Extend Deadline To File Its Post-Trial Motion
(docket no. 200). Liguria did not thereafter file any post-trial motion, nor did Griffith
file a reply in support of its May 26, 2017, post-trial Petition For Costs And Fees
Pursuant To The Court’s March 20, 2017, Order (docket no. 198). I am uncertain
whether the parties’ discussion of post-trial issues included an attempt to resolve the
issues raised in Griffith’s May 26, 2017, post-trial Petition and whether the parties did,
in fact, resolve issues related to the bill of costs.
        THEREFORE, not later than July 27, 2017, the parties shall file status reports
indicating what, if any, post-trial issues remain for the court to resolve.
        IT IS SO ORDERED.
        DATED this 20th day of July, 2017.



                                            ______________________________________
                                            MARK W. BENNETT
                                            U.S. DISTRICT COURT JUDGE
                                            NORTHERN DISTRICT OF IOWA


       Case 3:14-cv-03041-MWB-CJW Document 203 Filed 07/20/17 Page 1 of 1
